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                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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     SEDRICK DEWAYNE ALTHEIMER,
10
                                                             NO. 2:21-cv-01437 RSM
11                                          Plaintiff,
                                                             ORDER GRANTING DEFENDANT
12           vs.                                             TROYER’S MOTION TO STAY
13   PIERCE COUNTY, WASHINGTON, and
     PIERCE COUNTY SHERIFF EDWARD C.
14
     TROYER (a/k/a/ Ed Troyer), in his individual
15   and official capacity,

16                                      Defendants.
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18           THIS MATTER having come noted for consideration, and the Court having reviewed the
19   following pleadings:
20           1.       Defendant Troyer’s Motion to Stay;
21           2.       Declaration of L. Clay Selby in Support of Defendant Troyer’s Motion to Stay;
22           3.       Any brief and/or declaration filed in response to Defendant Troyer’s Motion to
23   Stay;
24           4.       Any brief and/or declaration filed in reply to Defendant Troyer’s Motion to Stay;
25   and
26           5.       The records and files herein, it is hereby



     ORDER GRANTING DEFENDANT TROYER’S
     MOTION TO STAY - 1
                   Case 2:21-cv-01437-RSM Document 18 Filed 01/11/22 Page 2 of 2




 1           ORDERED, ADJUDGED, AND DECREED that Defendant Troyer’s Motion to Stay is
 2   GRANTED. All further proceedings in this matter are stayed until such time as the parallel
 3   criminal case in Pierce County District Court is fully adjudicated. The parties are DIRECTED to
 4   advise the Court of the status of the criminal case at such time or on August 1, 2022, whichever
 5   is earlier.
 6           DATED this 11th day of January 2022.
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10                                               A
                                                 RICARDO S. MARTINEZ
11                                               CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING DEFENDANT TROYER’S
     MOTION TO STAY - 2
